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                             UNITED STATES BANKRUPTCY
                            COURT SOUTHERN DISTRICT OF
                                      FLORIDA
                                 www.flsb.uscourts.gov


In re:                                                        Chapter 11
TGP COMMUNICATIONS, LLC                                       Case No. 24-13938-MAM
Debtor.
                                         /


      DECLARATION OF                                   ]



         1.    I,                                                      am over the age of 18 and

make this Declaration in support of Debtor and Debtor in Possession TGP Communications,

LLC’s (“Debtor”) Motion to Suppress Personally Identifiable Information for Certain Individual

Creditors (ECF No. 26).

         2.    I make this Declaration based on personal knowledge.

         3.    I am currently a writer/contractor for Debtor. I have been writing for Debtor since

2024____. I am also an individual creditor for Debtor in the instant bankruptcy.

         4.    Because of my writing for Debtor and/or other similar online publications, I have

received threats of physical harm and violence from members of the public, and I periodically

receive or have received harassing electronic communications from members of the public who

profess to hate me and my writing, and who have stated they wish to inflict physical harm

upon my person.

         5.    Because of the harassing and threatening electronic communications I have

received, I have written and currently write articles under a pseudonym.




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       6.      Although I am a creditor, I do not want my personally identifiable information,

including, but not limited to my legal name, email address, phone number, and home address

released to the public in Debtor’s bankruptcy.

       7.      Specifically, I am in fear for my life and safety: I strongly believe that were my

personally identifiable information made readily available to the public, I would be placed in great

physical danger.

       8.      I have reason to believe this because [I have received threatening emails from

readers, through my Gateway Pundit email. I have been attacked and criticized for my pro Israel

stance and I am concerned that if my address were made public, my family could be harmed].

       9.      Because of this, I ask the Bankruptcy Court to keep and preserve my personally

identifiable information, including but not limited to my name, email address, phone number, and

home address sealed and unavailable to the public. At the same time, I understand that parties in

interest to these bankruptcy proceedings have a right to contact me, and I do not object to the

parties in interest (or the Court) having knowledge of and access to my personally identifiable

information as stated above so that they may contact me to the extent they have a right to do so as

part of TGP’s bankruptcy.

       Further, affiant sayeth not.




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     I declare under penalty of perjury that the foregoing is true and correct.




Executed On: June _16____, 2024                 Signature:

                                                NAME:




                                                                                      3
